                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

 JEFFERSON L. BIVINGS,                           )
                                                 )
               Petitioner,                       )
                                                 )
 v.                                              )       Nos.: 3:06-CR-147-TAV-HBG-8
                                                 )             3:16-CV-173-TAV
 UNITED STATES OF AMERICA,                       )
                                                 )
               Respondent.                       )


                                  MEMORANDUM OPINION

        Before the Court is Petitioner’s pro se motion to vacate, set aside, or correct his sentence

 pursuant to 28 U.S.C. § 2255 [Doc. 437]. The United States responded in opposition on May 24,

 2016 [Doc. 443]. Petitioner did not reply and the time for doing so has now passed. E.D. Tenn.

 L.R. 7.1, 7.2. Also before the Court is a pro se motion to “seal [the] case” [Doc. 446]. For the

 reasons below, Petitioner’s motion to seal will be DENIED and § 2255 motion will be DENIED

 and DISMISSED WITH PREJUDICE.

 I.     BACKGROUND

        In 2008, Petitioner pled guilty to conspiring to distribute at least five kilograms of

 cocaine and at least one hundred kilograms of marijuana, in violation of 21 U.S.C. §§ 846 and

 841(a)(1), (b)(1)(A) [Docs. 189, 253]. He faced a statutory mandatory minimum penalty of life

 imprisonment as the result of a prior federal conviction for conspiring to possess cocaine with

 intent to distribute and two prior Georgia convictions for possessing cocaine with intent to

 distribute [Docs. 127, 189; Presentence Investigation Report (PSR) ¶ 60]. Based on those same

 offenses, the United States Probation Office deemed Petitioner to be a career offender under

 Section 4B1.1 of the United States Sentencing Guidelines [PSR ¶¶ 27, 33, 37, 39]. After




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 granting the United States’ motion for downward departure under 18 U.S.C. § 3553(e), this

 Court sentenced Petitioner to 200 months’ imprisonment on May 29, 2009 [Doc. 370].

        No direct appeal was taken and, as a result, Petitioner’s conviction became final for

 purposes of § 2255(f)(1) on June 12, 2009, at expiration of time to file the same. See Sanchez-

 Castellano v. United States, 358 F.3d 424, 428 (6th Cir. 2004) (an unappealed judgment of

 conviction becomes final when the fourteen-day period for filing a direct appeal has elapsed);

 Fed. R. App. P. 4(b)(1)(A)(i) (“In a criminal case, a defendant’s notice of appeal must be filed in

 the district court within [fourteen]-days after . . . the entry of . . . judgment.”). The United States

 Supreme Court decided Johnson v. United States—invalidating the residual clause of the Armed

 Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e)—on June 26, 2015. 135 S. Ct. 2551 (2015).

 Petitioner filed the instant petition for collateral relief less than one year later on April 14, 2016

 [Doc. 437 (challenging his career offender enhancement in light of the Johnson decision)].

 II.    TIMELINESS OF PETITIONER’S CLAIMS

        Section 2255(f) places a one-year statute of limitations on all petitions for collateral relief

 under § 2255 running from either: (1) the date on which the judgment of conviction becomes

 final; (2) the date on which the impediment to making a motion created by governmental action

 in violation of the Constitution or laws of the United States is removed, if the movant was

 prevented from making a motion by such governmental action; (3) the date on which the right

 asserted was initially recognized by the Supreme Court, if that right has been newly recognized

 by the Supreme Court and made retroactively applicable to cases on collateral review; or (4) the

 date on which the facts supporting the claim or claims presented could have been discovered

 through the exercise of due diligence. 28 U.S.C. § 2255(f). Supreme Court precedent makes

 clear that Johnson’s invalidation of the ACCA residual clause amounted to a new rule made

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 retroactively applicable on collateral review. See Welch v. United States, 136 S. Ct. 1257, 1265

 (U.S. 2016) (“Johnson is . . . a substantive decision and so has retroactive effect . . . in cases on

 collateral review.”); In re Windy Watkins, 810 F.3d 375, 380–81 (6th Cir. 2015) (finding

 Johnson constitutes a new substantive rule of constitutional law made retroactively applicable on

 collateral review and thus triggers § 2255(h)(2)’s requirement for certification of a second or

 successive petition). It is yet to be seen whether the same is true of the “new rule” that results

 from application of Johnson’s reasoning in the Guideline context. See Pawlak v. United States,

 822 F.3d 902, 911 (6th Cir. 2016) (holding that Johnson’s vagueness analysis applies equally to

 the Guidelines and, as a result, that the parallel residual provision contained in Section 4B1.2

 was void for vagueness); but see In re Embry, No. 16-5447, 2016 WL 4056056, at *1 (6th Cir.

 July 29, 2016) (recognizing that “it is not clear whether to treat Pawlak as a new rule that the

 Supreme Court has not yet made retroactive [to cases on collateral review] or as a rule dictated

 by Johnson that the Supreme Court has made retroactive”). The Court finds that it need not

 resolve the issue here, however, because the Johnson decision has no impact on Petitioner’s case.

 III.   STANDARD OF REVIEW

        The relief authorized by 28 U.S.C. § 2255 “does not encompass all claimed errors in

 conviction and sentencing.” United States v. Addonizio, 442 U.S. 178, 185 (1979). Rather, a

 petitioner must demonstrate “(1) an error of constitutional magnitude; (2) a sentence imposed

 outside the statutory limits; or (3) an error of fact or law . . . so fundamental as to render the

 entire proceeding invalid.” Short v. United States, 471 F.3d 686, 691 (6th Cir. 2006) (quoting

 Mallett v. United States, 334 F.3d 491, 496–97 (6th Cir. 2003)). He “must clear a significantly

 higher hurdle than would exist on direct appeal” and establish a “fundamental defect in the



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 proceedings which necessarily results in a complete miscarriage of justice or an egregious error

 violative of due process.” Fair v. United States, 157 F.3d 427, 430 (6th Cir. 1998).

 IV.    ANALYSIS

        Petitioner articulates a single ground for relief, arguing that the Johnson decision

 removed his drug offenses from Section 4B1.2’s definition of “crime of violence” and, as a

 result, that he lacks sufficient predicate offenses for career offender enhancement [Doc. 437].

        The ACCA mandates a fifteen-year sentence for any felon who unlawfully possesses a

 firearm after having sustained three prior convictions “for a violent felony or a serious drug

 offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1).

 The statute defines “violent felony” as “any crime punishable by imprisonment for a term

 exceeding one year” that (1) “has as an element the use, attempted use, or threatened use of

 physical force against the person of another” (the “use-of-physical-force clause”); (2) “is

 burglary, arson, or extortion, involves the use of explosives” (the “enumerated-offense clause”);

 or (3) “otherwise involves conduct that presents a serious potential risk of physical injury to

 another” (the “residual clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual

 clause—that the Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563. The

 Court went on to make clear, however, that its decision did “not call into question . . . the

 remainder of the [ACCA’s] definition of violent felony,” i.e., the use-of-physical-force and

 enumerated-offense clauses. Id. Nor did Johnson disturb the use of prior serious drug offenses.

        Section 4B1.1 classifies a defendant as a career offender if (1) he or she was at least

 eighteen years old at the time the defendant committed the instant offense; (2) the instant offense

 of conviction is a felony that is either a crime of violence or a controlled substance offense; and

 (3) he or she has at least two prior felony convictions of either a crime of violence or a controlled

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 substance offense. U.S. Sentencing Manual § 4B1.1(a). Only Petitioner’s satisfaction of the

 third prong—possession of two qualifying predicate convictions—is disputed [Docs. 437].

        “Controlled substance offense” is defined as any offense “punishable by imprisonment

 for a term exceeding one year, that prohibits the manufacture, import, export, distribution, or

 dispensing of a controlled substance . . . or the possession of controlled substance . . . with intent

 to manufacture, import, export, distribute, or dispense.” U.S. Sentencing Manual § 4B1.2(b).

 “Crime of violence” is defined in an almost identical manner as “violent felony” under the

 ACCA. See U.S. Sentencing Manual §4B1.2(a) (adopting identical use-of-force and residual

 clauses as well as a nearly identical enumerated-offense clause).

        The validity of Petitioner’s sentence thus depends on whether two or more of his prior

 convictions qualify as “crimes of violence” under one of the unaffected provisions of Section

 4B1.2(a) or as “controlled substance offenses” under Section 4B1.2(b). See e.g., United States v.

 Ozier, 796 F.3d 597, 604 (6th Cir. 2015) (explaining courts need not decide what import, if any,

 Johnson has on the Sentencing Guidelines’ residual clause where the petitioner’s prior

 convictions qualify as predicate offenses independent of the residual clause), overruled on other

 grounds by Mathis v. United States, 136 S. Ct. 2243, 2251 n. 1 (2016). To determine whether an

 offense qualifies under one of the above provisions, courts must first identify the precise crime of

 conviction by employing a “categorical approach,” looking “only to the statutory definitions—

 elements—of a prior offense, and not to the particular facts underlying [each individual]

 conviction[].” Descamps v. United States, 133 S. Ct. 2276, 2283, 2285 (2013).

        Review of Petitioner’s PSR reveals that a sufficient number of his prior convictions

 categorically qualify as predicate offenses independent of the residual clause. Specifically, all

 three prior drug convictions—the federal offense and both Georgia offenses—involved the

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 possession of a controlled substance with intent to distribute and carried a maximum penalty in

 excess of one year incarceration [PSR ¶¶ 33, 37, 39]. As a result, all three of the convictions

 were properly classified as predicate offenses under Section 4B1.1(a)(3). See, e.g., United States

 v. Jenkins, 613 F. App’x 754, 755 (10th Cir. 2015) (deeming Johnson “irrelevant” where

 enhancement stemmed from drug offenses). The Court finds that he has failed to demonstrate an

 entitlement to collateral relief; the petition will be denied.

 V.      REQUEST TO “SEAL” PETITIONER’S CASE

         In addition to challenging his career offender enhancement, Petitioner requests that this

 Court “seal” the instant civil action in accordance with the terms of his plea agreement [Doc.

 446]. As support for the request, Petitioner claims that he and the United States stipulated that

 his “case would remain under seal” as part of the plea agreement and suggests media coverage of

 both the criminal action and instant collateral challenge have “caused a lot of problems” [Id.].

         The request will be denied for two reasons. First, review of Petitioner’s plea agreement

 reveals no such stipulation [Doc. 189]. To the contrary, each of the filings that are currently

 under seal were rendered so in accordance with specific requests [Docs. 195, 349]. Second, even

 if such an agreement did exist, it would not apply in the current context as a result of the fact that

 Petitioner’s § 2255 motion operates as an intendent and distinct civil case.

 VI.     CONCLUSION

         For the reasons discussed above, Petitioner’s motion to seal [Doc. 446] will be DENIED

 and § 2255 motion [Doc. 437] will be DENIED and DISMISSED WITH PREJUDICE. The

 Court will CERTIFY any appeal from this action would not be taken in good faith and would be

 totally frivolous. Therefore, this Court will DENY Petitioner leave to proceed in forma pauperis

 on appeal. See Rule 24 of the Federal Rules of Appellate Procedure. Petitioner having failed to

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 make a substantial showing of the denial of a constitutional right, a certificate of appealability

 SHALL NOT ISSUE.           28 U.S.C. § 2253; Rule 22(b) of the Federal Rules of Appellate

 Procedure.

        ORDER ACCORDINGLY.


                                      s/ Thomas A. Varlan
                                      CHIEF UNITED STATES DISTRICT JUDGE




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